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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

---------------------------------------------------------------x
                                                               :          Chapter 11
In re:                                                         :
                                                               :          Case No. 15-11880 (BLS)
QUIKSILVER, INC., et al.                                       :
                                                               :          (Jointly Administered)
                                    Debtors.1                  :
                                                               :          Hrg. Date: Oct. 6, 2015 at 10:00 a.m. (Eastern)
                                                               :
---------------------------------------------------------------x          Related Docket No. 27


      DECLARATION OF NICHOLAS DRAKE IN SUPPORT OF OBJECTION TO TO
    DEBTOR’S FIRST OMNIBUS MOTION FOR ORDER PURSUANT TO BANKRUPTCY
     CODE SECTIONS 105(A) AND 365(A) AND BANKRUPTCY RULES 6006 AND 9014
        AUTHORIZING REJECTION OF CERTAIN EXECUTORY CONTRACTS

         I, Nicholas Drake, hereby declare under penalty of perjury under the Laws of the United
States that the following is true to the best of my knowledge, information and belief:
         1.        On or around 2014, and thereafter, the Debtor terminated me and other similarly
situated employees. On or around October of 2014, myself and the Debtor, through Executive Vice
President Carol E. Scherman, executed a separation agreement (the “Drake SA”). The Drake SA is
attached hereto as Exhibit “A”.
         2.        The Drake SA provides that the Debtor would pay “severance pay in the total amount
of $750,000…as follows: Eighteen (18) monthly checks, each in the amount of $41,666.67….”
(Drake SA, ¶ 2.A). The Drake SA further provides: “You [Drake] will not be required to perform
any duties following the Separation Date [September 30, 2014] or during the Severance Pay Period.”
(Drake SA, ¶ 2.B). Mr. Drake provided Debtor a “release”, a relinquishment of certain stock rights,
and other valuable concessions. The Drake SA provides for an arbitration clause in the event of the



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    The Debtors and the last four digits of their respective taxpayer identification numbers are as follows: Quiksilver, Inc.
    (9426), QS Wholesale, Inc. (8795), DC Direct, Inc. (8364), DC Shoes, Inc. (0965), Fidra, Inc. (8945), Hawk Designs,
    Inc. (1121), Mt. Waimea Inc. (5846), Q.S. Optics, Inc. (2493), QS Retail, Inc. (0505), Quiksilver Entertainment, Inc.
    (9667), and Quiksilver Wetsuits, Inc. (9599). The address of the Debtors’ corporate headquarters is 5600 Argosy
    Circle, Huntington Beach, California 92649.



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dispute to be decided by JAMS in Orange County, California. (Drake SA, ¶ 10). The Debtor has
not availed itself of arbitration.
        3.      The Debtor made payments to Drake through the first half of August 2015. The
Debtor has breached the Drake SA by failing to make the first post-petition payment due to Mr.
Drake under the Drake SA and by failing to make the second payment in August 2015. The Drake
SA does not provide for a liquidated damage clause, or a clause providing for a “total amount due
and owing clause” upon breach. Therefore, each missed payment constitutes a separate breach of
the Drake SA.
        4.      Payments under the Drake SA have accrued post petition for the months of
September 2015 and will continue to accrue through March 2016, entitling me to an administrative
claim in the amount of $291,666.69. I am further entitled to a priority claim pursuant to 11 U.S.C.
Section 507(a)(4) in the amount of $12,475.00.
        5.      Upon information and belief, all Separation Agreements were executed by the
affected former employee of Debtor and Debtor, through Executive Vice President Carol E.
Scherman. Upon information and belief, each Separation Agreement is substantially similar in form
to the Drake SA.
        6.      Upon information and belief, on or about August of 2015, the Debtor ceased making
payments to all Class Claimants under the Separation Agreements, as it did to me.
        7.      The Debtor has breached each of the Separation Agreements by failing to make the
first post-petition payment due under each of the Separation Agreements to the Class Claimants.
The Separation Agreements do not provide for a liquidated damage clause, nor a clause indicating
that “total amount due and owing clause” upon breach. Therefore, each missed payment constitutes
a separate breach of each of the Separation Agreements.


                                             ____________________________
                                             NICHOLAS DRAKE




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EXHIBIT “A”
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                                         September 11, 2014



PERSONAL AND CONFIDENTIAL

VIA HAND DELIVERY

Nicholas Drake
21017 Las Flores Mesa Drive
Malibu, California 90265

           Re:    Separation Agreement (Revised October 8, 2014)

Dear Nick:

This letter (“Agreement”) will confirm the agreement and understanding we have reached
regarding the end of your employment with Quiksilver, Inc., and/or any of its affiliates
(collectively, “Quiksilver” or the “Company”). In that regard, we have agreed as follows:

1.         End of Employment Relationship/Final Wages.

           A.     Your employment with the Company as Executive Vice President, Chief
                  Marketing Officer, and in any other role, will terminate for all purposes on
                  September 30, 2014 (“Separation Date”), as a result of corporate restructuring.
                  This Agreement constitutes written notice of such termination in accordance with
                  Section 10 of your Employment Agreement dated April 24, 2013 (“Employment
                  Agreement”). You agree to assist the Company in the smooth transition of your
                  job responsibilities. Your termination constitutes a “separation from service”
                  within the meaning of Treasury Regulations Section 1.409A-1(h) and an
                  “involuntary separation from service” within the meaning of Treasury
                  Regulations Section 1.409A-1(n)(1).

           B.     On or before the Separation Date, you will be paid your base salary, less required
                  tax deductions and withholdings, through the Separation Date.

2.         Severance Pay.

           A.     The Company will pay you severance pay in the total amount of $750,000, less
                  required tax deductions and withholdings (“Severance Pay”), with checks being
                  sent to your home address and payable as follows:

                  (i)    Eighteen (18) monthly checks, each in the amount of $41,666.67, less
                         legally required withholdings and deductions, payable on the Company’s

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                        regular payroll dates commencing in October 2014 and ending in March
                        2016. (You and the Company hereby amend that portion of Section 10(c)
                        of the Employment Agreement which provides for the first such payment
                        to be made on the 53rd day following the Separation Date.)

           B.    You will not be required to perform any duties following the Separation Date or
                 during the Severance Pay Period. Through the end of the Severance Pay Period
                 and afterwards, you are expected to conduct yourself in a positive and
                 professional manner as it pertains to Quiksilver.

           C.    The Company will pay 11/12th of the annual discretionary bonus adopted by the
                 Company’s Compensation Committee pursuant to Section 3 of your employment
                 agreement, if earned according to the financial results, i.e., ZQK planned
                 EBITDA of $170M, for the 2014 fiscal year (November 1, 2013 to October 31,
                 2014), less applicable withholdings and deductions, at the time annual bonuses
                 are paid to other same level executives, but in no event later than March 15, 2015.

           D.    Your health, life, long-term disability and other insurance coverages will cease
                 after the Separation Date. You may timely elect and pay for continued group
                 health insurance coverage under the Consolidated Omnibus Budget
                 Reconciliation Act of 1985 (“COBRA”). Information regarding COBRA will be
                 sent to you under separate cover. Other insurance coverages may be subject to
                 continuation or conversion at your own expense, subject to the provisions of the
                 particular plan.

           E.    Nothing in this Agreement shall constitute a waiver of any benefits which are
                 already earned and/or vested as of the Separation Date under any Company
                 401(k) or employee welfare benefit plan, and you shall remain fully entitled to all
                 such benefits, if any, in accordance with the terms of the applicable plan.

           F.    Except for any continuing and surviving obligations of yours thereunder (e.g.,
                 protection of Quiksilver’s trade secrets and proprietary and confidential
                 information), any and all employment agreements you may have with Quiksilver
                 (including, without limitation, the Employment Agreement and the April 24,
                 2013, letter setting forth items additional to the Employment Agreement
                 (“Letter”)) are deemed fully terminated and of no further force or effect. You
                 have no right to any additional compensation, equity or benefits under any such
                 employment agreement.

           G.    After the Separation Date, you are not eligible for, and will not receive, any other
                 compensation or benefit except as specifically provided herein (including, but not
                 limited to, any bonuses, incentives, stock option grants, RSU’s, payments with
                 respect to any outstanding awards under the Company’s Long Term Incentive
                 Plan or the Annual Incentive Plan, expense reimbursement or employee benefits).

           H.    Employment references should be directed to me, and I will verify your dates of
                 employment and position held. If you wish me to confirm your compensation
                 (salary, bonuses, etc.), please check the box and initial at the end of this sentence,

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                  and that will constitute your authorization for me to do so.  ______ Yes, I so
                  authorize.                                                       N.D.

3.         Restricted Stock Units.

           A.     Attached hereto as Attachment “A” is a copy of your current Optionee Statement
                  listing the status of your restricted stock units (“RSU’s”) as of the Separation
                  Date. The Separation Date is the date upon which you cease to provide Services
                  (as such term is defined in your Restricted Stock Unit Agreement) for purposes of
                  your RSU’s.

           B.     Our records reflect that after the Separation Date, you shall retain the following
                  number of currently unvested RSU’s, which shall remain subject to the vesting
                  and other provisions set forth in your RSU Agreement:

                  (i)    187,500 (15/40 x 500,000) pursuant to your July 1, 2013, RSU
                         Agreement.

                  All remaining RSU’s (312,500) shall be cancelled and forfeited as of the
                  Separation Date without payment of any consideration by the Company and
                  without any other action by you.

           C.     Please note that “blackout” periods under the Company’s Policy Prohibiting
                  Insider Trading (a copy of which you have previously received and reviewed)
                  may continue to apply to you, and you will continue to be subject to federal and
                  state securities laws which prohibit the purchase or sale of shares while in
                  possession of material, non-public information.

4.         Full Understanding and Voluntary Acceptance.

           There are both legal and tax implications to you in executing this Agreement, and you
           agree to be solely liable and responsible for, and indemnify and hold the Company
           harmless from, any tax liability you personally may incur as a result of this Agreement.
           Quiksilver advises you to consult an attorney and/or a tax professional prior to executing
           this Agreement. In entering into this Agreement, you agree that you have had the
           opportunity to seek the advice of an independent attorney and/or tax professional of your
           own choice and that you understand all the terms of this Agreement. You are executing
           this Agreement voluntarily with full knowledge of its significance and, in doing so, are
           not relying upon any statements, advice or representations made by the Company, its
           employees or its counsel.

5.         Return of Property/Non-Solicitation.

           A.     Except as otherwise provided below, all Company Property must be returned on
                  or before the Separation Date. By signing this Agreement, you confirm that you
                  will promptly return all keys, magnetic access cards and all other means of access
                  to the property or offices of the Company, and all other Company property,
                  equipment and documents in your possession or under your control, including, but

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                 not limited to, credit cards, cell phones, PDA’s, BlackBerries, fax machines,
                 pagers, files, personnel forms, accounting information and spreadsheets, budgets,
                 compensation data, business plans, documents and any other property of the
                 Company (“Company Property”) and that you will not copy, download or retain
                 any such materials.

                 Notwithstanding the foregoing, you may retain your laptop computer, iPad and
                 iPhone, provided that you deliver them to the Company within a reasonable
                 period of time after the Company’s request to have the memory erased and
                 software removed by the Company. You will be solely responsible for all service
                 charges, billing and operating expenses after September 30, 2014. (If necessary,
                 personal information on your laptop computer, iPad and iPhone, such as
                 photographs, will be copied to a disk.) You also agree (i) to preserve in
                 confidence and not disclose any confidential, proprietary, or trade secret
                 information relating to Quiksilver (or its affiliates), or their products, personnel,
                 or financial data, and (ii) not to download, copy or transfer any documents or
                 software from the Company’s computers.

           B.    You agree that, for a period of one (1) year after the Separation Date, you shall
                 not, without the prior written consent of the Company, directly or indirectly
                 through the actions of any other individual or entity, whether for your own benefit
                 or for that of another individual or entity, (i) solicit, divert or induce, or attempt to
                 solicit, divert or induce, any individual who is an employee of the Company or
                 any of the Released Parties (as defined below) to terminate his or her
                 employment; or (ii) solicit, divert or induce, or attempt to solicit, divert or induce,
                 any individual or entity who is a supplier, distributor, customer or client of the
                 Company or any of the Released Parties not to continue as a supplier, distributor,
                 customer or client of the Company.

6.         Release of Claims.

           A.    In exchange for the consideration provided herein, you agree to, and by signing
                 this Agreement do, forever waive and release Quiksilver and each of its affiliated
                 or related entities, divisions, subsidiaries, foundations, licensees, shareholders,
                 officers, directors, employees, attorneys, agents, successors and assigns
                 (collectively, “Released Parties”), from all known and unknown claims, rights,
                 actions, complaints, charges, liabilities, obligations, promises, agreements, causes
                 of action, suits, demands, damages, costs, losses, debts, and expenses of any
                 nature whatsoever which you ever had, now have, or may claim to have against
                 any of the Released Parties, including, without limitation, any claim arising out of
                 (i) any aspect of your employment or the termination of your employment with
                 the Company, including any claim to additional compensation, bonuses, equity or
                 benefits; (ii) any restrictions on the right of Quiksilver to terminate your
                 employment or any employment agreement with you; (iii) any agreement,
                 understanding or inducement, oral or written, express or implied, between you
                 and any of the Released Parties, including any employment agreement (including,
                 without limitation, the Employment Agreement and the Letter); (iv) any grant or

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                  award of RSU’s (other than the 187,500 referenced in Paragraph 3 of this
                  Agreement); (v) any awards pursuant to the Company’s Long Term Incentive
                  Plan or Annual Incentive Plan; and/or (vi) any federal, state or governmental
                  constitution, statute, regulation or ordinance, including, without limitation,
                  WARN, Title VII of the Civil Rights Act of 1964, the Age Discrimination in
                  Employment Act, and the California Fair Employment and Housing Act;
                  provided, however, that this release does not (a) affect rights or claims that may
                  arise after the date it is executed, (b) waive rights or claims arising out of this
                  Agreement, or (c) waive any rights you may have to indemnity under the
                  Company’s By-Laws, any individual indemnification agreement between you and
                  the Company, California Labor Code § 2802 or as otherwise required by law.

                  Your entitlement to payments under this Agreement is subject to and conditioned
                  upon your execution and delivery to the Company of this Agreement within 21
                  days following your Separation Date (and for the sake of clarity, notwithstanding
                  anything herein to the contrary, no such payments shall be paid or provided until
                  such timely delivery of this Agreement).

           B.     Further, you waive and relinquish all rights and benefits you may have under
                  Section 1542 of the California Civil Code. Section 1542 reads as follows:

                           “A GENERAL RELEASE DOES NOT EXTEND TO
                           CLAIMS WHICH THE CREDITOR DOES NOT KNOW OR
                           SUSPECT TO EXIST IN HIS OR HER FAVOR AT THE
                           TIME OF EXECUTING THE RELEASE, WHICH IF
                           KNOWN BY HIM OR HER MUST HAVE MATERIALLY
                           AFFECTED HIS OR HER SETTLEMENT WITH THE
                           DEBTOR.”

7.         Non-Admission.

           Nothing contained in this Agreement shall be considered an admission of any liability
           whatsoever. If you elect not to sign this Agreement, this Agreement is inadmissible in
           evidence to prove any liability or damage.

8.         Severability.

           Should any portion, word, clause, phrase, sentence or paragraph of this Agreement be
           declared void or unenforceable, such portion shall be considered independent and
           severable from the remainder, the validity of which shall remain unaffected.

9.         Successors and Assigns.

           This Agreement, and all the terms and provisions hereof, shall be binding upon and shall
           inure to the benefit of the parties and their respective heirs, legal representatives,
           successors and assigns.



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10.        Entire Agreement and Arbitration.

           This Agreement constitutes the entire integrated agreement between you and Quiksilver
           pertaining to the subject matter hereof and supersedes any and all prior agreements,
           understandings, negotiations and discussions, whether oral or written, pertaining to the
           subject matter hereof. After the execution of this Agreement, to the fullest extent allowed
           by law, any controversy, claim or dispute between you and the Company (and/or any of
           the Released Parties) relating to or arising out of this Agreement or your employment or
           the cessation of that employment will be submitted to final and binding arbitration in
           Orange County, California, for determination in accordance with the applicable rules of
           JAMS.

11.        Section 409A.

           Notwithstanding the foregoing provisions of this Agreement, to the extent the Company
           reasonably determines that any payment or benefit under this Agreement is subject to
           Section 409A of the Internal Revenue Code (the “Code”), such payment or benefit shall
           be made at such times and in such forms as the Company reasonably determines are
           required to comply with Code Section 409A (including, without limitation, in the case of
           a “specified employee” within the meaning of Code Section 409A, any payments that
           would otherwise be made during the six-month period following separation of service
           will be paid in a lump sum after the end of the six-month period) and the Treasury
           Regulations; provided, however, that in no event will the Company be required to
           provide you with any additional payment or benefit in the event that any of your
           payments or benefits trigger additional income tax under Code Section 409A or in the
           event that the Company changes the time or form of your payments or benefits in
           accordance with this Paragraph. Each payment and benefit payable under this Agreement
           is intended to constitute a “separate payment” within the meaning of Treasury
           Regulations Section 1.409A-2(b)(2). The provisions of this Agreement are intended to
           comply with the requirements of Section 409A of the Code so that none of the severance
           payments and benefits to be provided under the Agreement will be subject to the
           additional tax imposed under Section 409A, and any ambiguities herein will be
           interpreted to so comply.




                                                                   __________         __________
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12.        Signature Period.

           So that you can review this Agreement as you deem appropriate, the Company advises
           you as follows: (i) this Agreement does not waive any rights or claims that may arise
           after it is signed by you; and (ii) you will have twenty-one (21) days to consider this
           Agreement and return it to me, although you may sign it sooner than that if you so desire.
           If I do not receive your signed Agreement by that date, you are not eligible for the
           Severance Pay provided for herein.

By signing below, you voluntarily accept the terms contained in this Agreement. Nick, all of us
thank you for your service to Quiksilver, and we wish all the best for you.

Sincerely,

QUIKSILVER, INC.


By:
           Carol E. Scherman
           Executive Vice President, Global Human Resources



I HAVE READ, UNDERSTAND AND VOLUNTARILY
AGREE TO THE ABOVE:




Nicholas Drake                                                  Date




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